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                                                                                  u.S. district COURT E.D.N.Y.

   UNltED STATES DISTRICT COURT                                                    ^     MAY 13 2019           ★
   EASTERN DISTRICT OF NEW YORK

                                                                                    BROOKLYN OFFICE
   In re PAYMENT CARD INTERCHANGE
   FEE AND MERCHANT DISCOUNT                                       No. 05-MD-01720(MKB)(JO)
   ANTITRUST LITIGATION



       STATEMENT OF OBJECTIONS OF CLASS MEMBER RUSSELL OIL CO.,INC.

           Russell Oil Co, Inc.. (hereinafter "Company") accepted Visa and Mastercard transaction
   cards between 2004 and the present date. Company is a member of the Rule 23(b)(3) settlement
   class in this case, and it has not engaged in any other settlement of its claims against Visa and/or
   Mastercai'd.^ Company hereby submitsTts "objections to the proposed settlement preliminarily
   approved by the Court in January of this year.

          Company is located at Russell Oil Company, Inc. at 222 Schoolhouse Road, Lapine, AL
   36046. Company is a petroleum marketer engaged in the wholesale and retail sale of branded
   motor fuels. Since approximately 2004 it has accepted Visa and Mastercard transaction cards at
   retail service station and convenience store locations. Motor fuels at these locations have been
   sold under the Marathon, BP brands since 2004, and the credit card transactions at each location
   were processed by the applicable branded supplier.

           Company is concerned that the Court will concur in the arguments of Defendants that
   certain major oil company branded suppliers are entitled to file claims against the settlement
   fund for transactions at retail locations where Company accepted the applicable Visa or
   Mastercard transaction cards and paid the interchange fees. Company understands that the Court
   has indicated that class counsel cannot represent both the branded suppliers and branded
   marketers, like Company, because only one of the two groups is entitled to settlement funds
   attributable to Company's retail locations. None of the class representatives were branded
   marketers, and branded marketer interests were not represented when the settlement was
   negotiated. Nor are they adequately represented now by a conflicted class counsel who are
  'incapable of^sserting-hranded marketer-interests-when 4he-V-^conflictJwitlL-the..interests of major
   oil companies.                                                                                 i

           As of now. Company is totally in the dark as to whether, having accepted the cards and
   paid the interchange fees, it is part ofthe settlement class, whether it is entitled to a full or partial
   recovery, or whether any mechanism is in place to sort all of this out. Nothing in the Class
  Notice states whether Company or its branded supplier (whose fuel Company sells) have a right
  to recover for transactions at these locations. In short. Company is concerned that it is being
   deprived ofits legal right to fully participate in the settlement.

         In addition to not Icnowing what recovery Company may be entitled to as part ofthe class
  settlement, we do not believe that proper efforts are being made to notify branded marketers, like
  Company, so that they can object to the settlement. Although Company was sent a Class Notice
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   from the Claims Administrator, other branded petroleum marketers have received no notice even
   though they accepted the cards, and paid the fees, during the relevant period. The names and
   addresses pf branded petroleum marketers, like Company, can be obtained by the Claims
   Administrator from the branded suppliers.

          Branded marketers should be informed now whether a procedural mechanism will be put
   in place to determine whether, and to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and until these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.

                                               Respectfully submitted,

                                         ^ ^Russell Oil Co.,inc..—



                                               By: Thomas E. Russell


                                               President, Russell Oil Co., Inc.
